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 Counsel for Cameron Wyatt

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on               Case No. 2:23-cv-01165-KM-LDW
  behalf of all others similarly situated,

                         Plaintiff,              DECLARATION OF
                                                 JEREMY A. LIEBERMAN
                   v.

  ZAC PRINCE, FLORl MARQUEZ,
  TONY LAURA, JENNIFER HILL and
  GEMINI TRADING, LLC,

                         Defendants.


 JEREMY A. LIEBERMAN, of full age, declares under penalty ofperjury as follows:

           1.     I am an attorney licensed to practice in New York and am the Managing

 Partner of Pomerantz LLP, attorneys for Cameron Wyatt in the above matter. I am

 fully familiar with the facts contained herein based upon my personal knowledge. I

 make this Declaration in support of my application to be admitted pro hac vice in

 the above matter.



 {00549832; 1 }                              1
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           2.        I am a member in good standing of the courts set forth in Schedule A

 attached.

           3.        There are no disciplinary proceedings against me as a member of the

 bar in any jurisdiction, nor have I ever been the subject of any disciplinary

 proceedings.

           4.        Pomerantz LLP, is serving as local counsel on behalf of our client in

 accordance with L.Civ.R. 101.l(c).

           5.        I understand that if! am admitted to appear and participate pro hac vice:

                  (a) I shall abide by the rules governing the courts of the State of New

                     Jersey, including all disciplinary rules, and L.Civ.R. 101.1;

                  (b) I shall consent to the disciplinary jurisdiction of this Court and to the

                     appointment of the Clerk of the Supreme Court of the State of New

                     Jersey as an agent upon whom service may be made for all actions

                     against me and/or my firm that may arise out of my participation in

                     connection with this matter;

                  (c) I shall notify this court immediately of any matter affecting my standing

                     at the bar of any other court;

                  (d) I shall have all pleadings, briefs, and other papers filed with the court

                     signed by an attorney of record authorized to practice in this state;




 {00549832; I }                                       2
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                  (e) I will pay the $150 fee provided by L.Civ.R. 101.1 and the annual

                    payment to the Ethics Financial Committee and the New Jersey

                    Lawyers' Fund for Client Protection as provided by New Jersey Rule 1

                     :28-2(a) for each calendar year in which this case is pending.

           I hereby declare, under penalty of perjury, that the foregoing is true and

 correct.

  Dated: May           ~   , 2023                 Respectfully submitted,

                                                  POMERANTZ LLP



                                                          A. Lieberman
                                                         ird Avenue, Floor 20
                                                  Ne     ork, New York 10016
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                                                  Fax: 917-463-1044
                                                  Email: jalieberman@pomlaw.com

                                                  Counsel for Cameron Wyatt




 {00549832; I }                                  3
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                                    Schedule A - Jeremy A. Lieberman



 Court Name                      Date of Admission                Court Address



                                                                  Supreme Court, State of New York
 Supreme Court, State of New                                      Appe llate Division, Second Department
                                 Wednesday, September 17,2003
 York, Second Department                                          45 Monroe Place
                                                                  Brooklyn, NY 1120 I



                                                                  U.S. District Court
 United States District Court,                                    Southern District of New York
                               Tuesday, January 10, 2006
 Southern District of New York                                    500 Pearl Street
                                                                  New York, NY 10007



                                                                  U.S . District Court
 United States District Court,                                    Eastern District of New York
                                 Tuesday, January 10, 2006
 Eastern District of New York                                     225 Cadman Plaza East
                                                                  Brooklyn, NY 11201



                               Monday, November 09, 2009          U.S. Court of Appeals
United States Cou11 of Appeals (admitted); Wednesday, October     for the Second Circuit
for the Second Circuit         29,2014 (renewed); Wednesday,      40 Foley Square
                               September 11 , 2019 (renewed)      New York, NY 10007



                                                                  U.S. COUl1 of Appeals
United States Court of Appeals                                    for the Ninth Circuit
                               Thursday, March 3, 2011
for the Ninth Circuit                                             95 7th Street
                                                                  San Francisco, CA 94103



                                                                  U.S. District Court
United States District Court,                                     Northern District of lIIinois
                                 Friday, August 31 , 2012
Northern District of Illinois                                     219 South Dearborn Street
                                                                  Chicago, IL 60604



                                                                  U.S. District Court
United States District Court,                                     Southern District of Texas
                                 Tuesday, November 26, 2013
Southern District of Texas                                        515 Rusk A venue
                                                                  Houston, TX 77002



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                                   Schedule A - Jeremy A. Lieberman



Court Name                      Date of Admission                    Court Address



                                                                     U.S. Court of Appeals
United States Court of Appeals                                       for the Third Circuit
                               Friday, January 31 , 2014
for the Third Circuit                                                601 Market Street
                                                                     Philadelphia, PA 19106



                                                                     U.S . Court of Appeals
United States Court of Appeals                                       for the Tenth Circ uit
                               Wednesday, March 5, 2014
for the Tenth Circuit                                                1823 Stout Street
                                                                     Denver, CO 80257



                                                                     U.S. District Court
                                Friday, June 13 , 2014 (admitted);
United States District Court,                                        District of Colorado
                                Tuesday, September 29,2020
District of Co lorado                                                901 19th Street
                                (renewed)
                                                                     Denver, CO 80294



                                                                     U .S. District Court
United States District Court,                                        Eastern District of Michigan
                                Thursday, June 19, 2014
Eastern District of Michigan                                         231 W. Lafayette Blvd.
                                                                     Detroit, MI 48226



                                                                     U.S. Court of Appeals
United States COUlt of Appeals                                       for the Sixth Circuit
                               Friday, January 30, 2015
for the Sixth Circuit                                                100 East Fifth Street
                                                                     Cincinnati, Ohio 45202



                                                                     U.S . Court of Appeals
United States Court of Appeals                                       for the Fourth Circuit
                               Thursday, June 11 , 20 IS
for the Fourth Circuit                                               1100 East Main Street
                                                                     Richmond, VA 23219



                                                                     U.S . Court of Appeals
United States Court of Appeals                                       for the Eleventh Circuit
                               Wednesday, April 6, 2016
for the Eleventh Circuit                                             56 Forsyth Street, N.W.
                                                                     Atlanta, Georgia 30303




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                                   Schedule A - Jeremy A. Lieberman



Court Name                      Date of Admission               Court Address


                                                                Supreme Court of the United States
Supreme CO Ul1 of the United
                                Monday, November 27, 2017       1 First Street, NE
States
                                                                Washington, DC 20543



                                                                U.S. District Court
United States District Court,                                   Northern District of New York
                              Tuesday, March 26, 2019
Northern District of New York                                   445 Broadway
                                                                Albany, NY 12207



                                                                U.S. Court of Appeals
United States Court of Appea ls                                 for the First Circuit
                                Thursday, June 13,2019
for the First Circuit                                           1 Courthouse Way
                                                                Boston, Massachusetts 02210



                                                                U.S. District Court
United States District Court,                                   Western District of New York
                                Thursday, September 26, 2019
Western District of New York                                    2 Niagara Square
                                                                Buffalo, NY 14202



                                                                U.S. Court of Appeals
United States Court of Appeals                                  For The Fifth Circuit
                               Tuesday, October 6, 2020
for the Fifth Circuit                                           600 Camp Street
                                                                New Orleans, LA 70130



                                                                United States District COUl1, Eastern
                                                                District of Wisconsin
United States District Court,                                   United States Federal Building and
                                Tuesday, November 30, 2021
Eastern District of Wisconsin                                   Courthouse
                                                                517 E. Wisconsin Ave. Rm. 362
                                                                Milwaukee, WI 53202




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